Case 2:20-cv-11390-GCS-DRG ECF No. 36, PageID.556 Filed 05/04/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

                                                        Case No.: 2:20-cv-11390-GSC-RSW

 DEBORAH HOLMES, et al.
                                                        Judge George C. Steeh
                        Plaintiffs,                     Magistrate R. Steven Whalen
         v.

 POLARIS INDUSTRIES INC.                                NOTICE OF APPEARANCE OF
                                                        COUNSEL FOR DEFENDANT
                        Defendant.                      POLARIS INDUSTRIES INC.



        Please take notice that Matthew E. Nirider, a partner with the law firm of Benesch,

Friedlander, Coplan & Aronoff LLP, 71 S. Wacker Drive, Suite 1600, Chicago, Illinois, hereby

enters his appearance as counsel for Defendant Polaris Industries Inc., in the above-captioned

action. All future notices, papers and filings should be directed to Mr. Nirider.



                                      BENESCH, FRIEDLANDER, COPLAN &
                                      ARONOFF LLP


                                      By: /s/Matthew E. Nirider
                                          Matthew E. Nirider
                                          71 S. Wacker Drive, Suite 1600
                                          Chicago, IL 60606
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                                           Attorneys for Defendant Polaris Industries Inc.




15651094 v1
Case 2:20-cv-11390-GCS-DRG ECF No. 36, PageID.557 Filed 05/04/22 Page 2 of 2




                                 CERTIFICATE OF SERVICE

        This is to certify that the foregoing Notice of Appearance of Counsel for Defendant Polaris

Industries Inc. was filed electronically on May 4, 2022 in accordance with the Court’s Electronic

Filing Guidelines. Notice of this filing will be sent to all properly registered parties by operation

of the Court’s electronic case filing system. Parties may access this filing through the Court’s

electronic case filing system.




                                           s/Matthew E. Nirider
                                           Matthew E. Nirider




15651094 v1
